Case:11-00178-EAG
         Case 3:17-cv-02358-PAD
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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________
 No. 18-2103
                     IN RE: EMPRESAS MARTÍNEZ VALENTÍN CORP.,

                                              Debtor.


                                    PC PUERTO RICO, LLC,

                                            Appellant,

                                                 v.

                         EMPRESAS MARTÍNEZ VALENTÍN CORP.,

                                           Appellee.
                                      __________________

                                          JUDGMENT

                                    Entered: January 28, 2020

         This cause came on to be heard on appeal from the United States District Court for the
 District of Puerto Rico and was argued by counsel.

         Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 appeal of the April 4, 2017 damages award is dismissed as untimely, and the district court's award
 of attorneys' fees is affirmed.


                                                      By the Court:

                                                      Maria R. Hamilton, Clerk


 cc:
 Kenneth C. Suria-Rivera
 Nelson Robles Diaz
 Monsita Lecaroz-Arribas
